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                            UNITED STATES COURT OF APPEALS
                                 FOR THE SIXTH CIRCUIT
                                 100 EAST FIFTH STREET, ROOM 540
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                                                 Filed: May 13, 2021

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                      Re: Case No. 20-5367, Amity Koch v. Thames Healthcare Group
                          Originating Case No. : 1:18-cv-00039

 Dear Counsel,

    The Court issued the enclosed opinion today in this case.

                                                 Sincerely yours,

                                                 s/Cathryn Lovely
                                                 Opinions Deputy

 cc: Ms. Vanessa L. Armstrong

 Enclosure

 Mandate to issue
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                         NOT RECOMMENDED FOR PUBLICATION
                               File Name: 21a0241n.06cca

                                           No. 20-5367


                           UNITED STATES COURT OF APPEALS
                                FOR THE SIXTH CIRCUIT
                                                                                     FILED
                                                         )                      May 13, 2021
  AMITY KOCH,
                                                         )                  DEBORAH S. HUNT, Clerk
                                                         )
         Plaintiff-Appellant,
                                                         )
                                                         )      ON APPEAL FROM THE
  v.
                                                         )      UNITED STATES DISTRICT
                                                         )      COURT FOR THE WESTERN
  THAMES HEALTHCARE GROUP, LLC,
                                                         )      DISTRICT OF KENTUCKY
                                                         )
         Defendant-Appellee.
                                                         )


 BEFORE:        BATCHELDER, CLAY, and BUSH, Circuit Judges.

        ALICE M. BATCHELDER, Circuit Judge. Plaintiff-Appellant Amity Koch was a

 nursing-home nurse employed by the Defendant-Appellee Thames Healthcare Group, LLC. Koch,

 who has Attention Deficit Hyperactivity Disorder (ADHD) and Major Depressive Disorder

 (MDD), was terminated by Thames after she violated its no-call/no-show attendance policy. Koch

 sued Thames for disability discrimination and retaliation under the Kentucky Civil Rights Act

 (KCRA) and interference and retaliation under the Family and Medical Leave Act (FMLA). The

 district court granted Thames summary judgment. We AFFIRM.

                                                 I.

        Thames employed Koch at its Greenwood Nursing and Rehabilitation Center in Bowling

 Green, Kentucky. Greenwood has a robust attendance policy under which it accommodates

 chronically absent or tardy employees by providing counseling and warnings before termination.

 But, if an employee is to miss a scheduled shift for any reason, she must notify her supervisor or
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 the nurse-in-charge at least two hours before her shift starts. If she fails to do so, she is deemed a

 no-call/no-show. And after two no-call/no-shows, the employee is automatically terminated.

           Greenwood first hired Koch on April 5, 2016. From the start, Koch was chronically absent

 and was eventually placed on a 30-day probation period. Her absenteeism persisted through

 January 2017, at which point she took a voluntary three-month leave of absence. In April 2017,

 Thames rehired Koch under another 30-day probationary period. Within her first month back,

 Thames suspended Koch for two days for leaving work without permission. Koch’s poor

 attendance habits continued, causing Greenwood’s Assistant Director of Nursing, Nicole Jessie,

 to counsel and warn Koch about her absences and advise Koch about Greenwood’s attendance

 policy.

           Then came the week of August 14, 2017. On that Monday, Koch was scheduled to begin

 work at 7:00 a.m. but did not show. Koch text messaged Greenwood’s Director of Nursing,

 Amanda Steffey, at 7:24 a.m., stating that she had a doctor’s appointment for her wrist injury at

 8:30 a.m. and that she would arrive to work “[r]ight after it’s done,” but she never did.

           Koch missed her Tuesday, August 15 shift too. Her phone records show that she placed a

 one-minute call to Steffey at 6:52 a.m., eight minutes before her shift started. Steffey denies

 hearing from Koch but conceded that her poor cellular service might have prevented Koch’s call

 from going through. Koch claims that she told Steffey that she “wouldn’t be coming in the rest of

 th[e] week[,]” but did not explain further. That day, Steffey filled out a disciplinary notice, noting

 that Koch should be fired for two no-call/no-shows. To give Koch a chance to explain her absence,

 Steffey did not send the form to human resources that day. Koch does not claim that she contacted

 Steffey later that day to explain her absence.




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          Koch also missed her shift on Wednesday, August 16. She claims that she sent Steffey a

 text message at 6:27 p.m., stating: “I’ve been afraid to leave my house this week. My NP put me

 on a $1000/mo. med and ran out of samples, it hit me hard Sunday.”1. But Steffey denied receiving

 the text.

          On Thursday, August 17, Koch again missed work. This time, Steffey submitted a written

 disciplinary notice to the human resources department for processing. The notice recounted

 Koch’s absences on August 14–16 and again suggested Koch’s termination.

          On Friday, August 18, Koch left a letter on Steffey’s desk. The letter was from Koch’s

 medical care provider, Nurse Practitioner Cindy Lemon, stating:

          I have been seeing Amity for ADHD and Major Depressive disorder and providing
          medication management/individual psychotherapy. During the time we have been
          waiting on insurance to pay for her medication, we were also out of samples and
          were unable to provide her with her medication. We are now able to provide the
          medication and ask that you please excuse Amity Koch from work for dates August
          14, 2017 to August 18, 2017.

 Koch claims that she attempted to contact Steffey and Jessie about returning to work but Steffey

 and Jessie denied receiving those messages. Greenwood officially terminated Koch on August 20.

          Koch subsequently sued Thames, alleging interference and retaliation under the FMLA and

 disability-discrimination and retaliation under the KCRA.2 After discovery, both Koch and

 Thames filed motions in limine, and Thames moved the court for summary judgment on Koch’s

 FMLA and KCRA claims. The district court granted Thames’ summary judgment motion and

 denied both parties’ motions in limine as moot. Koch v. Thames Healthcare Grp., No. 1:18-CV-

 00039, 2020 U.S. Dist. LEXIS 56372 (W.D. Ky. Mar. 31, 2020). The district court concluded that



 1
  Koch asserts that she sent that text message on August 15, but her phone records show a text message sent to Steffey
 on August 16, not August 15.
 2
  Koch also filed a claim with the Equal Employment Opportunity Commission. The EEOC dismissed Koch’s claim
 but reserved her right to sue.

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 neither the FMLA nor the KCRA entitled Koch to relief. It held that Koch was not entitled to

 FMLA leave and even if she was, she did not provide proper notice. Id. at *34–36. It also held

 that Koch was not disabled as defined by the KCRA because her medication mitigated the effects

 of her ADHD and MDD. Id. at *25. The district court also dismissed Koch’s retaliation claims.

        Koch timely appeals.

                                                  II.

        We review a district court’s grant of summary judgment de novo. Bryson v. Regis Corp.,

 498 F.3d 561, 569 (6th Cir. 2007). “Summary judgment is proper if the evidence, taken in the

 light most favorable to the nonmoving party, shows that there are no genuine issues of material

 fact and that the moving party is entitled to a judgment as a matter of law.” Id. “Our task is to

 determine whether the evidence presents a sufficient disagreement to require submission to a jury

 or whether it is so one-sided that one party must prevail as a matter of law.” Id. (internal quotation

 marks omitted).

                                      A. FMLA Interference

        Under the FMLA, it is “unlawful for employers to interfere with or deny an employee’s

 exercise of her FMLA rights.” Bryson, 498 F.3d at 570 (citing 29 U.S.C. §§ 2614, 2615). To state

 a claim of FMLA interference, the employee must show that: (1) she was an eligible employee;

 (2) her employer was a covered employer; (3) she was entitled to leave under the FMLA; (4) she

 gave her employer notice of her intention to take leave; and (5) her employer denied or interfered

 with the FMLA benefits to which she was entitled. See Wallace v. FedEx Corp., 764 F.3d 571,

 585 (6th Cir. 2014).




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        Here, the parties dispute the entitlement and notice elements. Assuming that Koch was

 entitled to FMLA leave—though we have doubts that she was—Koch did not properly notify

 Thames that she intended to take FMLA leave during the week of August 14, 2017.

        “The critical test for substantively-sufficient notice is whether the information that the

 employee conveyed to the employer was reasonably adequate to apprise the employer of the

 employee’s request to take leave for a serious health condition that rendered him unable to perform

 his job.” Brenneman v. MedCentral Health Sys., 366 F.3d 412, 421 (6th Cir. 2004). “While an

 employee need not expressly assert rights under the FMLA or even mention the FMLA, the

 employee must give the employer enough information for the employer to reasonably conclude

 that an event described [by the] FMLA [] has occurred.” Walton v. Ford Motor Co., 424 F.3d 481,

 486 (6th Cir. 2005) (citations and quotations omitted).

        There are different standards for foreseeable and unforeseeable leave. Koch’s FMLA-

 interference claim fails under both.

                                        i.   Foreseeable Leave

        Under the FMLA, a plaintiff must give 30 days’ notice for foreseeable leave, but if “30

 days[’] notice is not practicable, such as because of a lack of knowledge of approximately when

 leave will be required to begin, a change in circumstances, or a medical emergency, notice must

 be given as soon as practicable.” 29 C.F.R. § 825.302(a) (2013). “As soon as practicable means

 as soon as both possible and practical, taking into account all of the facts and circumstances in the

 individual case.” 29 C.F.R. § 825.302(b).

        Koch’s absence was undoubtedly foreseeable. Koch testified that she ran out of medication

 and was incapacitated on Sunday, August 13. Because nothing in the record indicates that Koch

 knew of her impending absence thirty days in advance, we assess whether it was practical for Koch



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 to notify Thames of absences on Monday, August 14. We find that it was. Koch could have

 notified Steffey on Monday morning when she texted Steffey about her 8:30 a.m. wrist-injury

 appointment.

        Koch argues that she provided sufficient notice during her one-minute phone call with

 Steffey on the morning of August 15 and again on the evening of August 16 when she texted

 Steffey that she was “afraid to leave [her] house [that] week” and that she “ran out of samples, and

 it hit [her] hard Sunday.” Even assuming, as we must, that Steffey received that phone call and

 text message, those contacts were insufficient to notify Thames of Koch’s FMLA leave and too

 late to avoid automatic termination under the attendance policy.

        Koch’s August 15 phone call merely conveyed that she would not be coming for the rest

 of the week without further explanation. The August 16 text message merely stated that Koch was

 out of medication, not that it affected her ADHD or MDD, or that she was requesting leave for the

 next day. Why was she afraid to leave her house, and what hit her hard? Without more, her text

 message could not reasonably put Thames on notice that Koch was suffering from a serious health

 condition or that she was requesting FMLA leave because of it. See Beaver v. RGIS Inventory

 Specialists, Inc., 144 F. App’x 452, 456–57 (6th Cir. 2005) (finding that the plaintiff’s general

 description of her ailment and absence did not provide sufficient FMLA-leave notice).

        More importantly, both Koch’s phone call and text message were tardy. Koch’s August

 15 phone call did not come until eight minutes before her shift started, long after the attendance

 policy’s two-hour-notice deadline. The same goes for the letter from Koch’s medical care

 provider, which did not come until August 17. Before that time, Koch had two no-call/no-shows

 and was subject to automatic termination under Thames’ attendance policy.




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                                     ii.    Unforeseeable Leave

           When the need for leave is “not foreseeable, an employee must provide notice to the

 employer as soon as practicable under the facts and circumstances of the particular case.”

 29 C.F.R. § 825.303(a). Notice “shall provide sufficient information for an employer to reasonably

 determine whether the FMLA may apply to the leave request.” 29 C.F.R. § 825.303(b).

           The unforeseeable-leave standard permits a plaintiff to cure a notice default by showing

 that she could not give notice before the absence or leave. But the record refutes Koch’s claim

 that her major depressive episode and fear to leave her house justified her failure to abide by the

 FMLA’s notice requirement. Over the course of that week, Koch sent and received 702 text

 messages and placed and received over ten phone calls to a variety of third parties. See Acker v.

 Gen. Motors, LLC, 853 F.3d 784, 789–90 (5th Cir. 2017) (rejecting claim of unusual circumstances

 when the employee could not explain why “‘unusual circumstances’ left him capable of calling

 one line, but not the other”).

           The district court properly concluded that Thames did not interfere with Koch’s FMLA

 rights.

                                  B. KCRA Discrimination Claim

           “The language of the KCRA mirrors that of the ADA; consequently, claims brought under

 the KCRA are interpreted consistently with the standards developed under the ADA.” Bryson,

 498 F.3d at 574 (citation omitted); see Howard Baer, Inc. v. Schave, 127 S.W.3d 589, 592 (Ky.

 2003) (“The Kentucky Civil Rights Act was modeled after federal law, and our courts have

 interpreted the Kentucky Act consistently therewith.”). Because Kentucky passed the KCRA

 before the ADA Amendments Act (ADAAA), this court continues to apply pre-ADAAA

 jurisprudence to KCRA analysis. See Krueger v. Home Depot USA, Inc., 674 F. App’x 490, 494



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 (6th Cir. 2017) (“[T]he Kentucky legislature adopted the language in the KCRA in 1992 and

 intended it to reflect the language of the ADA at that time, not the subsequent amendments.”);

 Breen v. Infiltrator Sys., 417 F. App’x 483, 486 (6th Cir. 2011) (“[T]h[e] amendment has yet to be

 incorporated into the Kentucky statute, see K.R.S. § 344.010(4) (1992), so the pre-2008 ADA

 standards apply to [Plaintiff]'s claim.”).

         “Under [Kentucky Revised Statutes] § 344.040(1), it is unlawful for an employer to

 discharge any individual . . . because the person is a qualified person with a disability.” Hallahan

 v. Courier-Journal, 138 S.W.3d 699, 706 (Ky. Ct. App. 2004) (internal quotation marks omitted).

 When, like here, a plaintiff bases his or her disability-discrimination claim on circumstantial

 evidence, Kentucky courts require that the plaintiff show that:

         (1) he is disabled; (2) he is “otherwise qualified” for the position with or without
         reasonable accommodation; (3) he suffered an adverse employment decision;
         (4) the employer knew or had reason to know of the plaintiff’s disability; and (5) the
         position remained open while the employer sought other applicants or the disabled
         plaintiff was replaced. The employer must then offer a legitimate explanation for
         its action. If the employer satisfies this burden of production, the plaintiff must
         introduce evidence showing that the proffered explanation is pretextual.

 Id. at 706 n.5.

         Koch’s claim falters on the disability prong. Under the KCRA, the term “disability” is

 defined to include: (a) a physical or mental impairment that substantially limits one or more of the

 major life activities of the individual; (b) a record of such impairment; or (c) being regarded as

 having such an impairment. See K.R.S. 344.010(4). Koch does not have a disability under any

 scenario.

                                      i.      Substantial Limitation.

         Under pre-ADAAA law, Kentucky courts consider three factors in determining whether an

 individual is substantially limited: “[1] the nature and severity of the impairment; [2] the duration

 or expected duration of the impairment; and [3] the permanent or long-term impact, or the expected
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  permanent or long-term impact of or resulting from the impairment.” Toyota Motor Mfg., Ky., Inc.

  v. Williams, 534 U.S. 184, 196 (2002), superseded by statute Pub. L. No. 110-325, 122 Stat. 3553

  (2009). “Merely having an impairment does not make one disabled for purposes of the ADA [and

  KCRA].” Id. at 195. “Under Kentucky law temporary impairments do not qualify as disabilities”

  either. Larison v. Home of the Innocents, 551 S.W.3d 36, 43 (Ky. Ct. App. 2018). Therefore, “a

  person whose . . . mental impairment is corrected by mitigating measures still has an impairment,

  but if the impairment is corrected it does not substantially limi[t] a major life activity.” Sutton v.

  United Air Lines, Inc., 527 U.S. 471, 483 (1999), superseded by statute Pub. L. No. 110-325, 122

  Stat. 3553 (2009) (alteration in original) (internal quotation marks omitted).

         Koch has provided sufficient evidence that she suffers a mental impairment, but her

  impairment does not substantially limit her ability to work. Her period of incapacity lasts only as

  long as she lacks medication. Koch was fully capable of working when she was medicated. At

  worst, Koch’s substantial limitation was temporary, which, in this instance, lasted only four days—

  and only because she was without medicine. See Mahon v. Crowell, 295 F.3d 585, 590–91 (6th

  Cir. 2002) (An “impairment that only moderately or intermittently prevents an individual from

  performing major life activities is not a substantial limitation” under the ADA). Koch’s ADHD

  and MDD does not substantially limit her work activities.

                                       ii.   Record of Disability.

         “A record of an impairment means an individual has ‘a history of, or has been misclassified

  as having, a mental or physical impairment that substantially limits one or more major life

  activities.’” MX Grp., Inc. v. City of Covington, 293 F.3d 326, 339 (6th Cir. 2002) (citation

  omitted). Koch’s record-of-disability challenge fails because she does not cite to any history or




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  classification demonstrating that her impairment substantially limits one or more major life

  activities. Id.

                                     iii.   Regarded as Disabled.

          Although the record reveals that Steffey and other Thames employees knew that Koch had

  ADHD—through Koch’s jokes or hearsay statements—it does not reflect that Koch or Thames’s

  staff classified or regarded Koch as disabled. The record refutes any claim that (1) Thames thought

  that Koch’s ADHD or MDD prevented her from performing a broad class of jobs and (2) Thames

  modified Koch’s duties to accommodate a perceived disability. See Schave, 127 S.W.3d at 594

  (“To succeed upon a regarded as disabled claim, plaintiff must demonstrate that an employer

  thought he was disabled . . . [and] that the employer thought that his disability would prevent him

  from performing a broad class of jobs.” (alteration in original) (internal quotation marks omitted)).

          There is no genuine issue of fact as to whether Koch had a disability as defined by K.R.S.

  § 344.010(4).

                             C. FMLA and KCRA Retaliation Claims

          Koch’s corresponding retaliation claims also fail. To survive summary judgment on

  retaliation under the FMLA and KCRA, a plaintiff must demonstrate that: (1) she engaged in a

  protected activity, (2) her employer knew of that activity, (3) the employer thereafter took an

  adverse employment action, and (4) a causal connection exists between the protected activity and

  the adverse action. See Seegar v. Cincinnati Bell Tel. Co., 681 F.3d 274, 283 (6th Cir. 2012)

  (FMLA); Charalambakis v. Asbury Univ., 488 S.W.3d 568, 583 (Ky. 2016) (KCRA).

          As discussed above, Koch’s FMLA retaliation claim fails because when Thames

  terminated Koch, it had neither notice nor any reason to believe that Koch was exercising her

  FMLA rights. See Land v. S. States Coop., Inc., 740 F. App’x 845, 850 (6th Cir. 2018) (affirming



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  summary judgment for the defendant because the defendant had already started termination

  proceeding before receiving the plaintiff’s FMLA letter).

         Koch’s KCRA retaliation claim fails because she merely rehashes her FMLA argument,

  which the KCRA does not protect. The KCRA requires that the claimed discrimination be

  “because the person is a qualified individual with a disability,” not because the person is

  “incapacitated” as defined by the FMLA. Compare K.R.S. § 344.040(1)(a), with 29 C.F.R.

  § 825.115(a); see Stanley v. Haier US Appliance Sols., Inc., No. 3:19-CV-00640, 2020 U.S. Dist.

  LEXIS 24448, at *4 (W.D. Ky. Feb. 11, 2020) (“Taking FMLA leave is not a protected activity

  for the purposes of the KCRA anti-retaliation provision.”).

                                                 III.

         For the foregoing reasons, we AFFIRM the judgment of the district court.




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